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Nathan Ochsner, Clerk of Court

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U. S. Department of Justice
Federal Bureau of Prisons
USP Canaan, Pennsylvania

LOUDD, Zachary Cte

Register No.: 87160-379
Unit D2
Page 1

Inmate Request to Staff Response

This is in response to your Request to Staff, wherein you request
a Compassionate Release/Reduction in Sentence (RIS) or Home
Confinement based upon your medical conditions, which you claim
warrant consideration due to the COVID-19 pandemic.

fin. regards to your request for compassionate release based on your
medical conditions, your request does not meet the criteria set
forth in Program Statement 5050.50, Compassionate
Release/Reduction in Sentence. A review of your medical records
determined you have not been diagnosed with a terminal, incurable
cisease with a life expectancy of eighteen months or less, you are

able to care for your daily needs, and you are not confined to a.

bed or wheelchair for greater than fifty percent of your waking
hours.

Currently, Section 12003(b) (2) of the Coronavirus Aid, Relief, and
Economic Security Act (“CARES Act”) grants discretion to the BOP
to place inmates on home confinement for a longer term under 18
U.S.C. § 3624(c) (2). The BOP’s discretion is guided by criteria
listed in memoranda from the Attorney General.

A comprehensive review of your circumstances reveal you are serving
a 168 month sentence for Aiding & Abetting Armed Bank Robbery, and
are classified as a high security level inmate. Your concern about
being potentially exposed to, or possibly contracting, COVID-19
does not currently warrant an early release.ftom your sentence,
and you are not ‘an appropriate candidate for Home Confinement
placement.

Accordingly, your request for a Compassionate Release/Reduction in
Sentence and Home Confinement are denied. If you are dissatisfied
with this response, you may appeal this decision through the

Administrative Remedy Process.

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